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                                 IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF ALASKA


s~ tk-c,bti., &~v4,iJff[: -
         (Enter full name of plaintiff in this act10n)             Case No.   _j',- ff -CV- J_;l.'$ _ Tf'Yl f!>
                                          Plaintiff,                                 (To be supplied by Court)
vs.

  -Yvorif\e                Lo..w-.our'-QU ,X                              COMPLAINT UNDER
                                                                         THE CIVIL RIGHTS ACT
      u f\q_             G°'-'1~b1'; ~                                      42 u.s.c. § 1983

                                                                              (NON-PRISONERS)
       (Enter full names of defendant(s) in this action.
                      Do NOT use et al.)

                                          Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you
assert jurisdiction under any different or additional authorities, please list them below:

                       \b ~ ",.__\J2..,~tvl1,u__J_                  \.)w'Q:r'\        ~J~
B. Parties

1. Plaintiff: Th is complaint alleges that the civil rights of             3°a-.c.JL, tbJ.,oV"L                  ~111Sc>1 _)J---
                                                                                     (print your name)                         /

                                                           //J1ufd(t)"1 ,d._ ~ ~
who presently resides at                ..2 2. U
                                                                 (mailing address)
                                                                                              Ci.u elrtJf19.µ.c.    c:cl<:~ Ps'f
were violated by the actions of the individual(s) named below.




              Case 3:19-cv-00228-TMB Document 1 Filed 08/21/19 Page 1 of 7
2. Defendants             (Make a copy of this page and provide same information if you are naming more than 3
defendants):

Defendant No. 1,
 ~
                              2\Jo ~ n ~        L0<..1J,J o \,) l' -e..,~
                                                         (name)                                     _
                                                                                                         is a citizen of
,                           , and is employed as a             ~~oV'--           C,..o-vt/'- i-- J ucl'1L .
             (state)                                              (defendant's government position/title)        ---


    °('\ t
      This defendant personally participated in causing my injury, and I want money
~es.
OR
4   The policy or custom of this official's government agency violates my rights, and I
seek injunctive relief (to stop or require someone do something).

Defendant No. 2,              t }OCA.... Gc:t.tAJ.. oh /&                                               is a citizen of
                                                         (name)
A-l'¾ILA
              (statt?)-
                            , and is employed as a           ";;>:(J~cocc ( c0             ,,..f-
                                                                   (7endant's government position/title)
                                                                                                        :S- 0d-y~.
  Cl-This defendant personally participated in causing my injury, and I want money
damages .
OR
 S?SJ"he policy or custom of this official's government agency violates my rights , and I
seek injunctive relief (to stop or require someone do something).

Defendant No. 3,._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is a citizen of
                                                         (name)
_ _ _ _ _ _ , and is employed as a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             (state)                                              (defendant's government position/title)


_ _ This defendant personally participated in causing my injury, and I want money
damages.
OR
__The policy or custom of this official's government agency violates my rights, and I
seek injunctive relief (to stop or require someone do something).


C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B , etc. and rename
the claims, "Claim 4 ," "Claim 5, etc.").




PS02 - § 1983 Non-Prisoner
Dec. 2013
Page 2 of 7




               Case 3:19-cv-00228-TMB Document 1 Filed 08/21/19 Page 2 of 7
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                                                                                                        N)~"t/OA> / £ , ~
   due process~ freedom ofreligion , free speech , freedom of associafion and/or assemt51y, freedom from <truel and
                                unusual punishment, etc. List only one violation .)
was violated by Y1t:c,Y1 fl{                     l,.q m ,oq r:<,v ..X::
                                                     (Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words . Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):


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PS02 - § 1983 Non-Prisoner
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Claim 2: On         or about iJ•a.€.\.; Gcvcvl l)t, 11' -      , my                                      civil right to
                                                           (Date)
   ct~               v?~~~s .C"=> q_-Q 2
  (due process , treedom ot religion , free speech; freedom of association and/or assembly, freedom from cruel and
                                  unusual punishment, etc. List only one violation.)
was violated by                  t N'\.tA. GC\A'.\ cl Q,        h, ('
                                      (Name of the specificefenbnt who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly , in your own words . Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

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PS02 - § 1983 Non-Prisoner
Dec. 2013
Page 4 of 7




           Case 3:19-cv-00228-TMB Document 1 Filed 08/21/19 Page 4 of 7
Claim 3: On or about _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , my civil right to
                                                          (Date)

  (due process , freedom of religion , free speech , freedom of association and/or assembly, freedom from cruel and
                                  unusual punishment, etc. List only one violation .)


was violated by ___________________________
                                      (Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 3. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3.):




PS02 - § 1983 Non-Prisoner
Dec. 2013
Page 5 of 7




          Case 3:19-cv-00228-TMB Document 1 Filed 08/21/19 Page 5 of 7
D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action , or otherwise relating to your imprisonment? _ _ Yes  --X_
                                                                               No

2. If your answer is "Yes," describe each lawsuit.

a. Lawsuit 1:

Plaintiff(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Defendant(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Name and location of court:
                              -----------------------
Docket number:- - - - - - Name of judge: _ _ _ _ _ _ _ _ _ _ _ _ __

Approximate date case was filed : ______ Date of final decision: _ _ _ _ __

                                                                 ___ Still pending
Disposition :     - - - Dismissed       - - Appealed
Issues Raised :
                 --------------------------
b. Lawsuit 2:

Plaintiff(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Defendant(s) :_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Name and location of court:
                              ---------------------
Docket number:- - - - - Name of judge: _ _ _ _ _ _ _ _ _ _ _ _ __

Approximate date case was filed: _ _ _ _ _ Date of final decision: _ _ _ _ __

Disposition:      - - - Dismissed       ___ Appealed             ___ Still pending

Issues Raised:
                 -----------------------------

F. Request for Relief

Plaintiff requests that this Court grant the following relief:

1. Damages in the amount of$ _ _ _ _ _ _ _ __

PS02 - § 1983 Non-Prisoner
Dec. 2013
Page 6 of 7
         Case 3:19-cv-00228-TMB Document 1 Filed 08/21/19 Page 6 of 7
                                                                    '
                                               -i_ ti\ )'-' I\. v-t l-1'-(_
2. Punitive damages in the amount of$- - - - - - - -

3. An order requiring defendant(s) to     A,r1e1J c.o-"' t c, to&.!' ./ol'- ft, k/ ~      1-u
4. A declaration that                        <i-1-ol) VP/0t.7l-"'J c..JV<J-, /<,;h5

5. Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Plaintiff demands a trial by jury. _ _ _ Yes _ _ _ No



               DECLARATION UNDER PENAL TY OF PERJURY

 The undersigned declares under penalty of perjury that s/he is the plaintiff
 in the above action, that s/he has read the above civil rights complaint and
      that the information contained in the complaint is true and -correct.




Executed at     /   't ~ Cil, 0 r~-e                      on       &-:2. {-/ {   (Date)




     Original Signature of Attorney (if any)                            (Date)




Attorney's Address and Telephone Number




PS02 - § 1983 Non-Prisoner
Dec. 2013
Page 7 of 7
        Case 3:19-cv-00228-TMB Document 1 Filed 08/21/19 Page 7 of 7
